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                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of Vermont



Willis Boyd Annis, III

                          Plaintiff(s)                           )
                                                                 )
                              v.                                 )
                                                                 )       Civil Action No. 2:22-cv-00084
Norwich Military Academy VT, Central Intelligence                )
Agency VT, National Guard, Brian Buck, City of                   )
Northfield Vermont, Amy Davenport, Keith Saunders,               )
Lesslie Rule, Ann Rule                                           )
                         Defendant(s)




                                         JUDGMENT IN A CIVIL ACTION


☐   Jury Verdict.

 Decision by Court.

IT IS ORDERED AND ADJUDGED that pursuant to the court's Entry Order (Document No. 2) filed on May 31, 2022, Plaintiff's
Application for Leave to Proceed In Forma Pauperis (Document No. 1) is GRANTED; however, his Complaint (Document No. 3) is
DISMISSED with prejudice under 28 U.S.C. § 1915(e)(2)(B) and Fed. R. Civ. P. 12(b)(6).

The court hereby certifies that under 28 U.S.C. § 1915(a)(3) any appeal would not be taken in good faith.



                                                                        JEFFREY S. EATON
Date: June 1, 2022                                                      CLERK OF COURT

JUDGMENT ENTERED ON DOCKET
DATE ENTERED: 6/1/2022                                                  /s/ Sharrah J. LeClair
                                                                        Signature of Clerk or Deputy Clerk
